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Case 3:20-cv-00952-BJD-JRK Document 3-1 Filed 08/26/20 Page 1 of 28 PagelD 52

7 ® Issued through:

A BoatU S BoatU.S. Marine Insurance

AAS MARINE INSURANCE PROGRAM 5323 PORT ROYAL RD
SPRINGFIELD VA 22151

DECLARATIONS PAGE Policy Service:877-581-2628
Claims:877-970-2628

Named DIANE JARVIS & GRANTLAND KINGMAN
"Insured" 411 WALNUT ST #7144
Address GREEN COVE SPRINGS, FL 32043 Policy No. BUS5118616-03

Policy Period: From 07/27/2019 to 07/27/2020 beginning and ending at 12:01 A.M. at the address of the named
“insured” on this page.
Underwriting Company: | GEICO MARINE INSURANCE COMPANY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Upon the 1974 HINCKLEY YACHTS 49 Monohull Sail HRH490184974
Boat: YEAR MANUFACTURER LENGTH TYPE IDENTIFICATION NUMBER
COVERAGE IS PROVIDED ONLY WHERE AN AMOUNT OF INSURANCE IS SHOWN
COVERAGES AMOUNT OF INSURANCE
Hull and Equipment Agreed Value $180,000 Incl
Commercial Towing and Each Incident $250 Incl
Assistance
Boating Liability (Protection and Limit Each "Accident", Bodily Injury and Property $500,000 Incl
Indemnity) Damage
Fuel and Other Spill Liability Limit Each "Accident" $939,800 Incl
Longshore and Harbor Workers' Limit of Liability Statutory Incl
Compensation
Medical Payments Limit Per Person Each "Accident" $10,000 Incl
Boat Trailer Agreed Value $0 Incl
Personal Effects Replacement Cost $5,000 Incl
Uninsured Boater Limit Each "Accident" $500,000 Incl
FORMS AND ENDORSEMENTS made a part of this Policy at time ofissue: |Total Premium $2,563.00
Net Annual Premium $2,563.00

 

 

 

 

DEDUCTIBLES: $900 Applicable to Hull and Equipment: For any covered loss due to a "named storm" that
occurs while the “insured boat" is located in AL, FL, GA, LA, MS, NC, SC, TX, the
Bahamas, the Caribbean or Mexico, the deductible applied to each loss is the greater
of the Hull and Equipment deductible, $1000, or 5% of boat's “insured value”.

$250 Applicable to Personal Effects only

CRUISING LIMITS: While afloat, the "insured boat" shall be confined to the waters indicated below:

(There is no coverage outside of this area without "our" written permission.)

Coastal and Inland waters of the U.S. and Canada

Loss, if any, payable to named “insured" and the Loss Payee printed below, as their interests may appear.

COMERICA BANK

P O BOX 75000

DETROIT MI 48275

EXHIBIT

Print Date: 6/4/19 ; A
FLDECOO1 01 16 INSURED COPY
Case 3:20-cv-00952-BJD-JRK Document 34-1 Filed 05/21/21 Page 2 of 28 PagelD 249
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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

FLORIDA ENDORSEMENT TO THE MARINE
INSURANCE POLICY

It is agreed that the Marine Insurance policy is amended as follows:

Under SECTION II — DEFINITIONS, the definition E. “Bodily injury” is removed in its entirety and
replaced with the following:

E. “Bodily injury” means bodily harm, sickness or disease. “Bodily injury” does not include a
disease which is transmitted by an “insured” through sexual contact, unless there is a causal
connection between a covered “accident” and transmission. “Bodily injury” includes
required care, loss of services and death resulting from covered bodily harm, sickness or
disease.

Under SECTION II — DEFINITIONS, the definition N. “Named storm” is removed in its entirety and
replaced with the following:

N. “Named storm” means a storm named by the National Oceanic & Atmospheric
Administration (NOAA). Outside of United States territorial waters, “named storm” also
means a tropical storm, tropical cyclone, hurricane, or typhoon.

Under SECTION II — DEFINITIONS, the definition Q. “Personal watercraft” is removed in its entirety
and replaced with the following:

Q. “Personal watercraft” means any vessel powered by internal water jet propulsion that is
designed to be operated by a person or persons sitting, standing, or kneeling on the vessel
rather than within the confines of a hull.

Under SECTION Ill - IN THE EVENT OF ALOSS, B. Actions to Take, 1. is removed in its entirety and
replaced with the following:

1. Promptly upon a loss, the “insured” must:

a. Take all necessary steps to protect an “insured boat” and its equipment from further
loss. “We” will pay the reasonable costs “you” incur in preventing further damage (Sue
and Labor Expense) if the loss is covered under the HULL AND EQUIPMENT section of
this policy. This Sue and Labor Coverage is in addition to those coverages noted under
HULL AND EQUIPMENT. “We” do not cover “your” or an “insured’s” labor or personal
expense nor any amount in excess of the “insured value.”

b. Give “us” notification as soon as practicable of the loss and its circumstances.

c. Promptly notify law enforcement if an “insured boat” or any of its “boating equipment”
is stolen.

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Under SECTION Ill — IN THE EVENT OF ALOSS, B. Actions to Take, 2., d. is removed in its entirety
and replaced with the following:

d. Promptly notify “us” about and forward to “us” any legal papers or notices received in
connection with the loss.

Under SECTION III — IN THE EVENT OF ALOSS, B. Actions to Take, 2., e. is removed in its entirety
and replaced with the following:

e. Cooperate with “us” in the investigation, defense, or settlement of any loss, and agree to be
examined under oath as many times as “we” reasonably request.

Under SECTION IV — COVERAGES, A. HULL AND EQUIPMENT, 4. Limit of Insurance, b. “Newly
Acquired Boat” is removed in its entirety and replaced with the following:

The “insured value” for a “newly acquired boat” shall be the verifiable purchase price or
$250,000, whichever is less. “Boating equipment” coverage value shall be limited to 10% of the
“newly acquired boat's” purchase price. These values shall remain in effect until cancellation or
until “we” issue “you” a new Declarations Page or any new endorsements.

Under SECTION IV — COVERAGES, A. HULL AND EQUIPMENT, 4. Limit of Insurance, c. “Amount
Paid to “You” in Event Of Loss,” (4) Appraisal and Dispute is removed in its entirety and replaced
with the following:

If “you” have met the requirements and conditions of the policy, and if the amount of a covered
loss is still in dispute, “you” or “we” may demand an appraisal of such loss. Upon receipt of
written demand for appraisal, each will choose and pay a competent appraiser within 30 days.
The appraisers will pick a third person within 30 days to settle any differences. Each party will be
responsible for payment of their own appraiser and will share the cost of the third appraiser
equally. Each appraiser will separately state the amount of loss within 30 days of the naming of
the third appraiser. The amount “we” will pay will be the award agreed to in writing by two of
these appraisers less the applicable deductible shown on the Declarations Page. The appraisal
and dispute process must be complete within 90 days of the date first demanded, unless
extended by agreement of all parties.

Prior to initiation of the appraisal and dispute process, an “insured” may initiate by written
request non-binding mediation.

Under SECTION IV — COVERAGES, C. BOATING LIABILITY (PROTECTION AND INDEMNITY), 2.
Coverage Provided, the first sentence is removed in its entirety and replaced with the following:

If an amount is shown for this coverage on the Declarations Page, “we” will pay damages and
any costs assessed against an “insured” up to that amount for any claim or suit covered under
this policy for “bodily injury” or “property damage” and resulting loss of use for which an
“insured” becomes legally liable through ownership, maintenance or use of an “insured boat.”

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Under SECTION IV — COVERAGES, C. BOATING LIABILITY (PROTECTION AND INDEMNITY), 3.
Exclusions, f. is removed in its entirety and replaced with the following:

f. “Bodily injury” or “property damage” caused by an intentional act of an “insured” or at
the direction of an “insured”;

Under SECTION IV — COVERAGES, D. FUEL AND OTHER SPILL LIABILITY, 3. Exclusions, c. is
removed in its entirety and replaced with the following:

c. Liability caused by or resulting from an intentional act of an “insured,” or at the direction of
an “insured,” or willful misconduct of an “insured”; any claim for punitive damages; or, any
fine, penalty or costs of defense arising out of a criminal or civil violation of law’;

Under SECTION IV — COVERAGES, G. BOAT TRAILER, 3. Limit Of Insurance, b. “Newly Acquired
Trailer” is removed in its entirety and replaced with the following:

b. “We?” will cover any “property damage” to a newly acquired boat trailer, less the deductible,
provided that “you” notify “us” within 30 days of purchase of this newly acquired boat trailer
and pay any additional premium. The value of a newly acquired boat trailer shall be the
verifiable purchase price.

Under SECTION IV — COVERAGES, I. UNINSURED BOATER, 3. Arbitration is removed in its entirety
and replaced with the following:

If “we” and an “insured” do not agree whether that person is legally entitled to recover damages
under this coverage, or as to the amount of damages, either party may make written demand for
arbitration.

Upon receipt of written demand for arbitration, each party will select a competent arbitrator within
30 days. The arbitrators will select a third arbitrator within 30 days to settle any differences. If they
cannot agree on the selection of a third arbitrator within 30 days, either may request that selection
be made by a judge of a court having jurisdiction.

Arbitration will take place within 30 days of the naming of the third arbitrator in the county where
an “insured” lives, unless both parties agree otherwise. Local rules of law regarding procedure
and evidence will apply. A written agreement by two of the arbitrators as to whether an “insured”
is legally entitled to recover damages under this coverage and the amount of these damages will
be binding to an “insured” only if agreed upon by both parties at the time of the dispute.

Each party will pay their own chosen arbitrator and will share the expenses of the third arbitrator
equally. The arbitration must be completed within 90 days of the first notice or demand for
arbitration unless extended by agreement of all of the parties.

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Under SECTION V — GENERAL CONDITIONS, A. Payment of Loss is removed in its entirety and
replaced with the following:

After “we” receive all statements and supporting papers, “we” will process “your” claim.
Provided “you” have complied with all the terms of this policy, “we” will pay for covered loss or

damage within:
a. 20 days after “we” receive the sworn proof of loss and reach written agreement with “you”;
or

b. 30 days after “we” receive the sworn proof of loss and:
1. There is an entry of final judgment; or
2. There is a filing of an appraisal award with “us.”

“Your” cooperation is needed to expedite settlement and payment. If “you” do not provide all
requested papers within a year of the loss, the claim may be voidable.

Under SECTION V — GENERAL CONDITIONS, C. Cancellation is removed in its entirety and replaced
with the following:

C. Cancellation/Non-Renewal

1. POLICY PREMIUM AND RENEWAL: The premium shown on the Declarations Page is
the initial premium for this policy. If “we” agree to renew the policy, then at the time of
each renewal, on the policy anniversary date, the premium for the renewal will be
computed by “us” according to “our” premium rules, forms and guidelines then in use.
“We” may non-renew this policy by delivering or mailing to “you” at “your” mailing
address shown on the Declarations Page or the last address shown on “our” records, at
least 45 days before the end of the Policy Period, a written non-renewal notice. Proof of
mailing or delivery of this notice to “you” shall be sufficient proof that notice of non-
renewal was given.

2. CANCELLING THE POLICY: “You” may cancel the policy at any time by providing
“us” with advance notification of the cancellation date.

When this policy has been in effect for 90 days or less, “we” may cancel immediately if
there has been a material misstatement or misrepresentation or failure to comply with
underwriting requirements. “We” may also cancel this policy subject to the following
provisions. A written cancellation notice, together with the specific reasons for
cancellation, will be delivered to “you,” or mailed to “you” at “your” mailing address
shown on the Declarations Page, or the last address shown on “our” records.

a. When “you” have not paid the premium, “we” may cancel at any time by giving
“you” notice of cancellation at least 10 days before the date cancellation takes
effect.

b. When this policy has been in effect for 90 days or less, “we” may cancel for any
reason, by giving “you” notice of cancellation at least 20 days before the date
cancellation takes effect.

c. When this policy has been in effect for more than 90 days, “we” may cancel:
1) Ifthere has been a material misstatement;
2) If the risk has changed substantially since the policy was issued;

3) In the event of failure to comply with underwriting requirements established by
“us” within 90 days of the effective date of coverage; or

4) If the cancellation is for all “insureds” under policies of this type for a given
class of “insureds.”

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This can be done by giving “you” notice of cancellation at least 45 days before the date
cancellation takes effect. Proof of mailing or delivery of the cancellation notice to “you”
shall be sufficient proof that notice of cancellation was given. The date of the cancellation
stated in the notice shall become the end of the policy period.

3. POLICY PREMIUM AND CANCELLATION: Cancellation may be effective prior to the
return of premium, if any. The return premium will be calculated on a pro-rata basis, and
the return premium will not be less than 90% of the pro rata unearned premium.
Unearned premium will be returned within 15 working days after the effective date of
cancellation.

Under SECTION V — GENERAL CONDITIONS, F. Private Pleasure Limitation is removed in its entirety
and replaced with the following:

There is no coverage during any period of chartering, leasing, commercial use or exhibition, or
any other non-private pleasure use unless “you” have prior written permission from “us.” There
is no coverage if an “insured boat” is used for illegal activities with any “insured’s” permission.

Under SECTION V —- GENERAL CONDITIONS, G. Other Insurance is removed in its entirety and
replaced with the following:

1. When this policy and any other policy covers on the same basis, “we” will pay only “our”
share. “Our” share is the proportion that the Limit of Insurance of “our” policy bears to the
total of the limits of all the policies covering on the same basis. For non-owned boats, this
policy shall apply as excess over all other insurance.

2. With regards to HULL AND EQUIPMENT, BOAT TRAILER, and PERSONAL EFFECTS
coverages, the combined amount of ali available insurance shall not exceed the highest limits
of any one policy issued by the company for any loss. This provision only applies when there
are multiple policies issued by the same company.

Under SECTION V —- GENERAL CONDITIONS, J. Fraud and Concealment is removed in its entirety
and replaced with the following:

There is no coverage from the beginning of this policy if an “insured” has omitted, concealed,
misrepresented, sworn falsely, or committed fraud in reference to any material matter relating to
this insurance before or after any loss.

Under SECTION V — GENERAL CONDITIONS, K. Legal Action Against “Us” is removed in its entirety
and replaced with the following:

No legal action may be brought against “us” unless there has been full compliance with all terms
of this policy. With respect to any claim or loss to insured property, the action must begin within
five years of the date of loss or damage. With respect to any other claim or loss, no legal action
may be brought against “us” until “we” agree in writing that an “insured” has an obligation to
pay a specified amount, or until the amount of that obligation has been finally determined by
judgment after trial. No one has a right under this policy to bring “us” into any action to determine
the liability of an “insured.” If any time limitations of the policy are prohibited or invalid under
applicable law, then legal action against “us” must begin within the shortest limitation of time
permitted by such law.”

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Under SECTION V — GENERAL CONDITIONS, the following is added:

Conformity to Law

Any terms of this policy that conflict with the laws of the state where this policy is issued are
considered amended to conform to such laws.

Inquiries

Questions regarding “your” policy or coverage should be directed to:
GEICO Marine Insurance Company

1-800-283-2883

Under SECTION VI —- GENERAL EXCLUSIONS, A. Racing Exclusion is removed in its entirety and
replaced with the following:

“We” will not provide any coverage for powerboats while engaged in any speed race or test by
an “insured.” “We” do cover predicted log cruises or similar competitions and sailboat racing.

Under SECTION VI — GENERAL EXCLUSIONS, B. War, Seizure, Nuclear Exclusion, 2. is removed in
its entirety and replaced with the following:

2. War (declared or undeclared), civil war, insurrection, rebellion, revolution, or any
consequence of these;

All other terms, conditions, and agreements of the policy remain unchanged.

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ABoatuSs.

Af SF EES MARINE INSURANCE PROGRAM

Marine Insurance Policy

Underwritten by:

GEICO Marine Insurance Company
A Stock Company
Administrative Offices
5323 Port Royal Road
Springfield, VA 22151-2106
Claims: 877-970-2628
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MARINE INSURANCE POLICY

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Section | — Insuring AGreeMeNt .........:.cccccccseeseeeseesesesseecseseseenseetseceseseussseeseeseeaueeetensenensnsseteeteaeesteaesensensersenersnnsnrserene
Section II — Definitions sasccssessesssccsgeccseccccncsusscccecnaacinez asstaaaac cscs ascata een tancccsicaasieddantieeis eiitctndenciastaaaatsiaaanaaeNeeeesautNae
Section II] — In the Event of a LOSS...........ccsccsscecsescerseceseeseecenecesseeeecaesecenensceecesecesensecaassaesesaeseasasaaseaaseeeserstanessaseeneeeesee
Section IV — Coverages
Hull and Equipment ......... cscs:
Commercial Towing and ASSIStANCE ...........cccccssesscsesseeeesresseseneneesessecseusetscscscnsteedeenceuenseneesenseaseccteaseanseneees
Boating Liability (Protection and Indemnity) ............ccceseccssseseesssnsessssesesessecteeesssesesesssiesteacseectseersceeeessneenes
Fuel and Other Spill Liability..............c:cccssssccsssssseesecessnneneeeseesesessscneesetsensseseceaeaennarseeeenaneneesenaeenensesennageaeeeenses
Longshore and Harbor Workers’ Compensation ..........2...c::cccscccceccssesesesacseecenecesersnenscsesseneceaeeeeeeeeseseseoesenesea
Mech Call Pty 10 G1 10S isa vrn sees vsneresvnensrrsavsansesnevassnevsaxesaverconrersarusseusnsensusssnenscavsnessésssvereassoueasaeusecesseassconsesssassesedp
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Section V — General Conditions sissccccciissvesserizacaxccredactatiivtiiidacciccnassi i veceitineviniescaceraventivatansndinatareansatacatenecaanternanenten 12
Section Vi — General Exclusions .............:..:csscesseeseessessssseeneeeesesseeaneanseasensnseassnaeeeeseserseeeeessssetsaseseseseeeseseeteseseeeees TO

oonrnnananh

TO REPORT A CLAIM, 7 DAYS A WEEK: BoatU.S. CLAIMS 800-937-1937
In the Event of an Accident

* See to the welfare of any injured people.

* Do not discuss fault or cause.

* Notify the appropriate local officials.

* Notify Claims immediately!

POLICY ASSISTANCE: BoatU.S. POLICY SERVICE 800-283-2883
* Ask for an UNDERWRITER if you have a question about policy coverage, premium, or are trading boats.
* Ask for POLICY SERVICE if you need policy confirmation for your bank, have paid off a loan, or sold the boat.

* Ask for MARINE INSURANCE ACCOUNTS if you need information on making payment arrangements or on
the status of your account.

GEICO Marine Insurance Company
A Stock Company
Administrative Offices
5323 Port Royal Road
Springfield, VA 22151-2106

877-580-2628

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MARINE INSURANCE POLICY

SECTION I - INSURING AGREEMENT

“We” will provide the coverages shown on the
Declarations Page, contained in this policy and any
endorsements, for any covered loss that occurs

 

 

 

Throughout this policy, “you” and “your” refer to the
individual, individual(s), or legal entity named on the
Declarations Page, and “we,” “us,” and “our” refer
to the company providing this insurance.

In addition, certain words and phrases are defined as
follows:

A. “Abandon” means the act of voluntarily giving up,
surrendering, deserting or relinquishing property
and all rights to its control with the intention of
terminating ownership and without the intention of
vesting ownership with any other person or entity.

B. “Accident” means a sudden and unexpected
event or occurrence to which this insurance
applies which happens within the policy period.
Continuous or repeated exposure to substantially
the same general condition, unless excluded, is
considered to be one “accident.”

Cc. “Actual cash value” means the value of the
covered property at the time of loss or damage.
For partial losses this will mean replacement cost
less depreciation. For a total or constructive total
loss, this will be determined by industry reference
materials including, but not limited to, the N.A.D.A.
book, the BUC Used Price Guide, and ABOS
Marine Blue Book.

D. “Boating equipment” means equipment owned
by “you” and regularly carried aboard an
“insured boat” that is considered normal for the
safe operation and routine maintenance of the
“insured boat.”

E. “Bodily injury” means bodily harm, sickness or
disease, except a disease which is transmitted by
an “insured” through sexual contact. “Bodily
injury” includes required care, loss of services
and death resulting from covered bodily harm,
sickness or disease.

F.“Dinghy” means a boat not to exceed 15’ length

overall, including an outboard motor that does not
exceed 40 horsepower, if so equipped. The
maximum coverage for any “dinghy” and its
outboard is $15,000. The “dinghy” must be
primarily used as the tender to an “insured boat”
listed on the Declarations Page.

Page 2 of 13

 

 

 

during the policy period, on the condition that “you”
pay the premium and comply with all of the policy
provisions.

SECTION II — DEFINITIONS

G.

 

 

 

“Family member” means any person related to
an “insured” by blood, marriage, civil union,
domestic partnership, or adoption, including a
ward or foster child, who resides in an
“insured’s” “household.”

. “Fuel spill’ means the unintentional discharge,

leakage or spillage of petroleum products or
chemicals.

. “Household” means “you” and any person

related to “you” by blood, marriage, civil union,
domestic partnership, or adoption, including a
ward or foster child, residing in a fixed, permanent
place of abode, where the intent is to return to that
place, despite periods of temporarily living
elsewhere or temporary absences.

. “Insured” is defined separately in Section Ill and

in each coverage under Section IV, under the
heading Who Is An “Insured.” An “insured”
under one section or coverage may not be an
“insured” under other sections or coverages.
Please carefully review the Who Is An “Insured”
provision at the beginning of Section II and the
beginning of each coverage under Section IV in
order to understand who is an “insured” under
that section or coverage.

. “Insured boat” means the boat which is named

on the Declarations Page, or a “newly acquired
boat.”

“Insured trailer” means a trailer owned by “you”
to regularly store or transport an “insured boat.”

. “Insured value” means the value of an “insured

boat” or “insured trailer,” as shown on the
Declarations Page.

. “Named storm” means a storm named by the

National Oceanic & Atmospheric Administration
(NOAA). Outside of United States territorial
waters, “named storm” also means a tropical
storm, tropical cyclone, hurricane, or typhoon,
whether named or unnamed by any governmental
authority.

. “Newly acquired boat” means a boat which

“you” purchase during the policy period provided
“you” notify “us” in writing within 30 days of

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SECTION II — DEFINITIONS CONTINUED

purchase of this “newly acquired boat” and pay S. “Property damage” means direct physical injury
any additional premium. A “newly acquired boat” to, or destruction of, tangible property.
shall be deemed an “insured boat” for all T. “Uninsured boat” means a boat owned or
purposes except valuation, and shall be subject to operated by an “uninsured boater.”
the conditions and limitations of the policy. ;

U. “Uninsured boater” means an owner or operator

. “Obsolescence” means the loss of value due to
changes in technology, not physical loss or
damage, which render the item no longer useful.

. “Personal watercraft” means any vessel
designed to be operated by a person or persons
sitting, standing, or kneeling on the vessel rather
than within the confines of a hull.

. “Pet” means an animal owned by “you” or
“your” “family member.”

of a boat other than an “insured boat” named on
the Declarations Page, who is legally responsible
for a collision with an “insured boat,” and:

1. To whom no liability policy applies; or

2. Who cannot be identified (such as a hit-
and-run operator).

SECTION Ill — IN THE EVENT OF ALOSS

. Who Is An “Insured”

For purposes of this section only, “insured” is
defined as:

1. “You”;
2. “Your” “family member(s)”; and

3. Any other person using an “insured boat”
with “your” direct and prior permission and
without compensation.

. Actions To Take
1. Immediately upon a loss, the “insured” must:

a. Take all necessary steps to protect an
“insured boat” and its equipment from
further loss. “We” will pay the reasonable
costs “you” incur in preventing further
damage (Sue and Labor Expense) if the
loss is covered under the HULL AND
EQUIPMENT section of this policy. This
Sue and Labor Coverage is in addition to
those coverages noted under HULL AND
EQUIPMENT. “We” do not cover “your” or
an “insured’s” labor or personal expense
nor any amount in excess of the “insured
value.”

b. Give “us” immediate notification of the loss
and its circumstances.

c. Promptly notify law enforcement if an
“insured boat” or any of its “boating
equipment” is stolen.

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2. Following a loss the “insured” must:

a. Give “us” the opportunity to inspect the
damaged boat or equipment before it is
repaired or discarded.

b. Submit a statement describing the loss and
any records needed to verify the loss, its
amount, and “your” interest in any property
damaged or lost.

c. Assume no obligation, admit no liability and
incur no expense for which “you” or “we”
may be liable without “our” written
permission, other than reasonable
expenses incurred to protect the property
from further damage.

d. Immediately notify “us” about and forward
to “us” any legal papers or notices
received in connection with the loss.

e. Cooperate with “us” in the investigation,
defense, or settlement of any loss, and
agree to be examined under oath as many
times as “we” request.

f. Allow examinations by physicians of “our”
choice, when pertinent to the loss.

g. Help “us” to obtain copies of medical
reports and records.

h. Give “us” a final notarized statement,
which shall be called Proof of Loss, if
requested.

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SECTION IV — COVERAGES

 

 

A. HULL AND EQUIPMENT

. Who Is An “Insured”

For purposes of HULL AND EQUIPMENT
coverage only, “you” are the “insured.”

. Coverage Provided

If an amount is shown for this coverage on the
Declarations Page, “we” will cover an
“insured boat” including its hull, machinery,
outboard motors, sails, spars and furniture.
“We” also cover “boating equipment” as well
as a “dinghy” and computer hardware and
software up to a maximum limit of $2,500.

. Types Of Losses Covered

“We” will pay for “property damage” to an
“insured boat,” its engines and items listed in
Coverage Provided from any accidental
cause including theft or vandalism. “We” do
not pay for any intangible loss, such as loss of
use or value, living expenses, or
“obsolescence.” All coverages are subject to
the limitations and exclusions of the policy.

. Limit Of Insurance

a. “Insured Value”

“We” agree with “you” that an “insured
boat” and other covered property shall be
valued at the amount shown on the
Declarations Page or any endorsements.

b. “Newly Acquired Boat”

The “insured value” for a “newly
acquired boat” shall be the verifiable
purchase price or $250,000, whichever is
less. “Boating equipment” coverage shall
be limited to 10% of the “newly acquired
boat’s” purchase price. These values shall
remain in effect until cancellation or until
“we” issue “you” a new Declarations Page
or any new endorsements. “We” may
amend the premium, change the policy
terms or conditions, cancel this coverage
on the “newly acquired boat,” or require
further conditions for continued coverage.

c. Amount Paid To “You” In Event Of Loss
In the event of:
(1) Total or Constructive Total Loss
“We” will pay “you” the “insured
value” as defined by this policy if an

“insured boat” is lost absolutely, or if
the reasonable cost of repair exceeds

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(2)

the “insured value.” “We” reserve the
right to declare an “insured boat” a
constructive total loss and pay “you”
the “insured value” if in “our”
judgment costs of the repair and the
post-casualty value of an “insured
boat” exceeds its “insured value.”
“We” are not obligated to accept or pay
for an “insured boat” or any “boating
equipment” which “you” “abandon.”
If “we” pay “you” the “insured value,”
“we” have the right to the “insured
boat.” If “we” exercise “our” right to
acquire the “insured boat,” “you”
must provide all documents needed to
transfer title to “us.” “You” agree to
allow “us” to withhold an amount not to
exceed 10% of the “insured value”
until “we” have received these
documents.

Repairs for Partial Loss

“We” will pay the reasonable cost of
repairs or replacements, in accordance
with quality marine repair practice, less
depreciation. Depreciation shall be
calculated at 10% for each year
beginning with the 20" year from
manufacture. In all cases, there shall
remain no less than 20% residual value
regardiess of age. In the event of
damage to plywood, plastic, fiberglass,
metal, cement, or other molded material,
“we" are obligated to pay only the
reasonable cost of repairing the
damaged area, in accordance with
quality marine repair practice. If there is
a covered loss requiring repainting of an
“insured boat,” “we” will pay the cost
of repainting or resurfacing the
damaged area in accordance with
customary marine repair practices so
that the area repaired will match, as
closely as practical, the origina) color.
“We” have the option to make or
reimburse “you” for repairs or
replacements, or to pay “you” directly
based on an agreed estimate of loss.
Repairs and replacements will be made
with like kind and quality.

In the event of damage to a “dinghy”
with cost of repair exceeding the

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SECTION IV — COVERAGES CONTINUED

“actual cash value” of the “dinghy,”
the most “we” will pay is the “actual
cash value” as determined by industry
reference materials including, but not
limited to, the N.A.D.A. book, the BUC
Used Price Guide, and ABOS Marine
Blue Book.

(3) Unrepaired Damage

“We” do not cover any previously
unrepaired damage.

(4) Appraisal and Dispute

\f “you” have met the requirements and
conditions of the policy, and if the
amount of a covered loss is still in
dispute, “you” or “we” may demand an
appraisal of such loss. Upon receipt of
written demand for appraisal, each will
choose and pay a competent appraiser
within 30 days. The appraisers will pick
a third person within 30 days to settle
any differences. Each party will be
responsible for payment of their own
appraiser and will share the cost of the
third appraiser equally. Each appraiser
will separately state the amount of loss
within 30 days of the naming of the third
appraiser. The amount “we” will pay will
be the award agreed to in writing by two
of these appraisers less the applicable
deductible shown on the Declarations
Page. The appraisal and dispute
process must be complete within 90
days of the date first demanded, unless
extended by agreement of all parties. If
the appraisal and dispute process is not
complete within 90 days of the date first
demanded, the original settlement
amount will be deemed accepted and
final.

5. Exclusions
This insurance does not cover:
a. Any loss caused directly or indirectly by

wear and tear, gradual deterioration,
mechanical or electrical breakdown,
overheating, galvanic action, rot, mold or
mildew, corrosion, electrolysis, weathering,
marring, scratching, denting, vermin,
animals, marine life, or insects; however,
“we” will cover immediate consequential
“property damage” resulting from any fire,
explosion, sinking, demasting, collision or
stranding;

. Any loss caused by or resulting from ice or
freezing;

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c.

d.

Any loss or damage caused by or resulting
from blistering or delamination;

Any cost of repair or replacement of a part
which fails as a result of a defect in
manufacture or construction; however,
“we” will cover consequential “property
damage” that results from such failure if
not otherwise excluded;

. Any loss, damage, expense or cost of

repair caused directly or indirectly by
incomplete, improper or faulty repair,
maintenance, or renovation;

Any liability for wages or provisions
furnished to captain or crew;

. Any loss, damage or expense caused

intentionally by, with the knowledge of, or
resulting from criminal wrongdoing by any
“insured”;

. Any “insured’s” personal labor, personal

expenses, time, loss of income or wages,
lodging, meals, or travel expenses; or

. Any personal items (including, but not

limited to, scuba gear, fishing gear including
rods, reels, and tackle, sporting goods,
clothing, portable televisions and stereos,
and cameras), fuel, perishables, and
consumables (including, but not limited to,
food, ice, beverages, paper, and cleaning
products).

. Deductible

The applicable deductible amount shown on
the Declarations Page will be subtracted from
each loss. It will not apply in the event of a
total or constructive total loss.

“Named Storm” Deductible

In the event of any loss caused directly or
indirectly by a storm named by the National
Oceanic & Atmospheric Administration
(NOAA), and if an “insured boat” is
located in, North Carolina, South Carolina,
Georgia, Florida, Alabama, Mississippi,
Louisiana, Texas, the Bahamas, the
Caribbean, or Mexico at the time of the
loss, the deductible subtracted from each
loss, whether a partial or a total loss, will be
the deductible amount shown on_ the
Declarations Page, $1,000, or 5% of the
amount shown for HULL AND
EQUIPMENT on the Declarations Page,
whichever is greatest.

The 5% deductible stated above shall
reduce to 3% if, at the time of loss, an
“insured boat” is completely on land and
firmly lashed to in-ground anchors, footings

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SECTION IV - COVERAGES CONTINUED

or similar in-ground structures and the
canvas and/or sails are removed from the
exterior of an “insured boat.”

b. Diminishing Deductible

With the exception of any applicable
“named storm” deductible or theft
deductible, the deductible applicable to
HULL AND EQUIPMENT is subject to the
following:

If during any policy period “you” do not
have a loss on an “insured boat” which
“we” have paid under HULL AND
EQUIPMENT, then:

(1) Any HULL AND EQUIPMENT
deductible shall be reduced for the
following policy period by 25% of the
original deductible; and

(2) No HULL AND EQUIPMENT deductible
will apply to the fifth consecutive policy
period and thereafter if “you” do not
have any paid losses during the four
previous consecutive policy periods. If
“you” have a loss at any time for which
“we" make a payment under HULL

AND EQUIPMENT, then the most
recent elected deductible for HULL AND

EQUIPMENT will be restored for the
subsequent policy period for any
“insured boat” for which the
Diminishing Deductible applies.
Thereafter, the deductibles for any
“insured boat” for which the
Diminishing Deductible is applicable
may again be reduced if the conditions
set forth above are satisfied.

The provisions in this policy regarding
Diminishing Deductible will not be
affected by reimbursement made under
Section V - General Conditions, D.
Hurricane Preparation.

7. Salvage Charges

In the event of a salvage claim against an
“insured boat,” coverage is limited to an
amount not to exceed the “insured value.”
This amount is in addition to the amount shown
for HULL AND EQUIPMENT on the
Declarations Page.

 

B. COMMERCIAL TOWING AND ASSISTANCE

If an amount is shown for this coverage on the

endorsement(s) “we” issued to “you”.
Declarations Page, please refer to the

 

C. BOATING LIABILITY (PROTECTION AND INDEMNITY)

4. Who Is An “Insured” “We” will settle or defend, as “we” consider

For purposes of BOATING LIABILITY
(PROTECTION AND INDEMNITY) coverage
only, “insured” is defined as:

a. “You”;
b. “Your” “family member(s)”; and

c. Any other person operating an “insured
boat” with “your” direct and prior
permission and without compensation.

. Coverage Provided

If an amount is shown for this coverage on the
Declarations Page, “we” will pay damages and
any costs assessed against an “insured” up
to that amount for any claim or suit covered
under this policy for “bodily injury” or
“property damage” for which any “insured”
becomes legally liable through ownership,
maintenance or use of an “insured boat.”

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appropriate, any claim or suit covered under
this policy which asks for these damages.
“We” will pay for an attorney “we” select to
defend an “insured.” The cost of defense is in
addition to the limit of insurance as stated on
the Declarations Page. “We” will also pay the
cost of bonds to release property that is being
used to secure an “insured’s” legal obligation
in any suit “we” defend. The amount of the
bond shall not exceed the amount shown for
HULL AND EQUIPMENT or BOATING
LIABILITY (PROTECTION AND INDEMNITY)
on the Declarations Page, whichever is less.

Once “we” have paid the limit of liability for
any covered damages, including removal of
wreck, “our” obligation to pay any damages,
or to provide any “insured” with a defense,
ends.

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SECTION IV— COVERAGES CONTINUED

Operating Other Boats

“We” will provide this boating liability
coverage to “you” and “your” “family
member(s),” subject to the other provisions
of this policy, while operating another boat
with the permission of its owner. However,
“we” do not cover loss or damage to the
other boat or its “boating equipment.” if
there is any other available insurance, “we”
will provide this coverage only as excess
over all other available insurance. The
liability coverage under this section will not
apply if the other boat is:

(1) A “personal watercraft”;
(2) Rented or chartered;

(3) Used for any other commercial purpose;
or

(4) Furnished for the regular use of, or
owned wholly or in part by “you” or
“your” “family member.”

Removal Of Wreck

“We” will pay for the removal or disposal of
the wreck of an “insured boat” if “you”
are legally obligated to do so, even if such
attempts to remove the wreck fail.

3. Exclusions
“We” do not provide liability coverage for:

a
b.

c.

. “Bodily injury” to any “insured”;
Damage to property owned by any
“insured”;

Liability which has been assumed by an
“insured” under a contract or agreement,
or any breach of contract;

“Bodily injury” or “property damage”
from an “accident” that occurs while an
“insured boat” or “insured trailer” is
being transported by a_ land-based
motorized vehicle;

“Bodily injury” or “property damage”
arising out of an “insured” or other person
parasailing, kite skiing, hoverboarding, fly
boarding, hydro foiling, or riding in/on any
other device that is designed to become
airborne from an “insured boat”;

“Bodily injury” or “property damage”
caused by or resulting from an intentional
act of an “insured”;

. Any claim for punitive damages; or any fine,

penalty or costs of defense arising out of a
criminal or civil violation of law = or
assessment by a governmental authority;

Injuries for which benefits are required to be
provided by the “insured” or which are
available to the injured person under any

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j.

state or federal compensation law or act
regardless of its source, and any claims by
captain or crew for maintenance and cure,
Jones Act liability, or unseaworthiness;

Cost of the containment, clean-up or
resulting “bodily injury” or “property
damage” or assessments related to the
discharge, leakage or spillage of petroleum
products, chemicals, bacteria, viruses, mold
or other substances of any kind or nature;

“Bodily injury” or “property damage”
caused by or resulting from a “pet”; or

k. Liability of a paid captain or crew.
4. Limit Of Insurance

a.

lf the declarations page shows a coverage
amount for Boating Liability “Limit Each
‘Accident’, ‘Bodily Injury’ and ‘Property
Damage’,” then the amount shown is the
most "we" will pay for all damages for
“bodily injury” or “property damage”
regardless of the number of "insureds,"
persons claiming damages, claims made,
or boats involved in any "accident" or
series of "accidents" arising out of the
same event.

\f the declarations page shows coverage
amounts for Boating Liability “Limit Per
Person, Each ‘Accident’, ‘Bodily Injury’
and ‘Property Damage’/Aggregate Limit
Each ‘Accident’,” then:

{1) The coverage amount shown for the
“Limit Per Person, Each ‘Accident’,
‘Bodily Injury’ and ‘Property
Damage”’ is the most “we” will pay for
all damages arising out of “bodily
injury” and “property damage” to one
person in any “accident” or series of
“accidents” arising out of the same
event, including the damages sustained
by anyone else as a result of that
“bodily injury” or “property
damage”; and

(2) The coverage amount shown for the
“Aggregate Limit Each ‘Accident’ is,
subject to the “Limit Per Person, Each
‘Accident’, ‘Bodily Injury’ and
‘Property Damage’,” the most “we”
will pay for all damages arising out of
“bodily injury” and “property
damage”, regardless of the number of
“insureds”, persons claiming
damages, claims made, or boats
involved in any “accident” or series of
“accidents” arising out of the same
event.

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SECTION IV - COVERAGES CONTINUED

 

D. FUEL AND OTHER SPILL LIABILITY

1. Who Is An “Insured”

For purposes of FUEL AND OTHER SPILL
LIABILITY coverage, “insured” is defined as:

a. “You”;
b. A “family member(s)”; and

c. Any other person operating an “insured
boat” with “your” direct and prior
permission and without compensation.

. Coverage Provided
If an amount is shown for this coverage on the

Declarations Page, “we” will pay up to that
amount for the containment, clean-up,
“property damage” and assessments
resulting from a “fuel spill” from an “insured
boat” for which any “insured” becomes
legally fiable through the ownership,
maintenance or use of an “insured boat.”
“We” will settle or defend, as “we” consider
appropriate, any claim or suit which asks for
these covered expenses and/or damages.
“We” will also pay for an attorney “we” select
to defend the “insured.” Once “we” have paid
the limit of liability for containment, clean-up,
resulting “property damage” and/or
assessments related to a “fuel spill,” “our”
obligation to pay any damages, or to provide
the “insured” with a defense, ends. This
additional coverage will not apply if an
“insured” fails or refuses:

a. To report the incident giving rise to liability
as required by law when the “insured”
knows or has reason to know of the
incident; or

b. To provide all reasonable cooperation and
assistance requested by a_ responsible
official in connection with containment and
clean-up activities.

3. Exclusions

“We” do not provide any coverage under this
section for:

a. Liability which has been assumed by an
“insured” under any _ contract or
agreement;

b. Liability arising out of the transportation of
an “insured boat” or “insured trailer” on
land;

¢. Liability caused by or resulting from an
intentional act or willful misconduct of an
“insured”; any claim for punitive damages;
or, any fine, penalty or costs of defense
arising out of a criminal or civil violation of
law;

d. Liability arising out of the discharge,
emission, spillage or leakage of any
radioactive material or substance of any
kind; or,

e. Liability for “bodily injury.”

. Limit Of Insurance

The amount shown for this coverage on the
Declarations Page is the most “we” will pay
regardless of the number of “insureds,”
claims made, or boats involved in any one
“accident,” or series of “accidents” arising
out of the same event.

 

E. LONGSHORE AND HARBOR WORKERS’ COMPENSATION

. Who Is An “Insured”

For purposes of LONGSHORE AND HARBOR
WORKERS’ COMPENSATION coverage,
“you” are the “insured.”

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2. Coverage Provided

If an amount is shown for this coverage on the
Declarations Page, “we” will pay damages up
to that limit for any liability and costs of
defending such liability which “you,” as owner
of an “insured boat,” incur during the term of
this policy, under the Federal Longshore and
Harbor Workers’ Compensation Act.

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SECTION IV —- COVERAGES CONTINUED

 

F. MEDICAL PAYMENTS

. Who Is An “Insured”

For purposes of MEDICAL PAYMENTS
coverage only, “insured” is defined as:

a. “You”;
b. “family member(s)”; and

c. Any other person using an “insured boat”
with “your” direct and prior permission and
without compensation.

. Coverage Provided /

lf an amount is shown for this coverage on the
Declarations Page, “we” will pay the
necessary medical and funeral expenses
resulting from a “bodily injury” to the
“insured” or a guest from an “accident”
which occurs while in, upon, boarding, or
leaving an “insured boat” as well as injury to
an “insured” or a guest water skiing from an
“insured boat.” These expenses must be
incurred within three years from the date of the
“accident.” If there are any other available
medical benefits or plans that offer coverage
for medical expenses to the “insured,” this
coverage will be excess over other such
insurance or benefits.

. Exclusions

“We” do not provide MEDICAL PAYMENTS
coverage for:

a. Responsibility assumed by an “insured”
under any contract or agreement;

b. “Bodily injury” from an “accident” that
occurs while an “insured boat” or
“insured trailer” is being transported by a
land-based motorized vehicle;

c. Injury to a trespasser on an “insured
boat”;

d. Anyone while an “insured boat” is
engaged in parasailing, kite skiing,
hoverboarding, fly boarding, hydro foiling,
or riding in/on any other device that is
designed to become airborne from an
“insured boat”;

e. “Your” employees;
f. A paid captain or crew; or

g. Injuries for which benefits are required to be
provided by the “insured” or which are
available to the injured person under any
state or federal compensation law or act
regardless of its source, and any claims by
captain or crew for maintenance and cure,
Jones Act liability, or unseaworthiness.

. Limit Of Insurance

The amount shown for this coverage on the
Declarations Page is per person for each
person injured in the same “accident”
regardless of the number of persons involved
or claims made.

 

G. BOAT TRAILER

. Who Is An “Insured”

For purposes of BOAT TRAILER coverage
only, “you” are the “insured.”

. Coverage Provided

If an amount is shown for this coverage on the
Declarations Page, “we” will pay for all
“property damage” to the “insured trailer”
from any “accidental” cause. “We” do not
pay for any intangible loss, such as loss of
value or use. “We” are not obligated to accept
or pay for an “insured trailer” which has been
“abandoned.”

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3. Limit Of Insurance

a. “Insured Value”

“We” agree with “you” that an “insured
trailer” shall be valued at the amount
shown on the Declarations Page or any
endorsements.

b. Newly Acquired Trailer

“We” will cover any “property damage” to
a newly acquired boat trailer, less the
deductible, provided that “you” notify “us”
within 30 days of purchase of this newly
acquired boat trailer and pay any additional
premium.

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SECTION IV—- COVERAGES CONTINUED

“We” may amend the premium, change the
policy terms or conditions, cancel this
coverage on the newly acquired boat trailer,
or require further conditions for continued
coverage. The value of a newly acquired
boat trailer shall be the verifiable purchase
price.

c. Amount Paid To “You” In Event Of Loss
In the event of:
(1) Total or Constructive Total Loss

“We” will pay the “insured value”
shown on the Declarations Page. The
deductible will not apply in the event of a
total or constructive total loss. If “we”
pay “you” the “insured value,” “we”
have a right to the “insured trailer.”

(2) Partial Loss

In the event of a partial loss, “we” will
pay the reasonable cost of repairs in
accordance with quality trailer repair

practice less the deductible shown on
the Declarations Page. “We” have the
option to make, or reimburse “you” for,
repairs or replacements, or to pay
“you” directly based on an agreed
estimate of loss. Replacements will be
made with like kind and quality. This
coverage is excess over any other
available insurance for the “insured
trailer.”

4. Exclusions

“We” will not pay for any loss caused directly
or indirectly by: wear and tear, gradual
deterioration, mechanical or electrical
breakdown, bearing failure and _ resulting
damage, overheating regardless of cause,
corrosion, manufacturer's defect, faulty repair,
previously unrepaired damage, rust,
weathering, vermin, animals, marring,
scratching or denting.

 

H. PERSONAL EFFECTS

1. Who Is An “Insured”

For purposes of PERSONAL EFFECTS
coverage only, “insured” is defined as:

a. “You”; and
b. “Your” “family member(s).”
. Coverage Provided

If an amount is shown for this coverage on the
Declarations Page, “we” will pay for all
“property damage” to an “insured’s”
personal effects from any accidental cause.
“We” do not pay for any intangible loss, such
as loss of value or use. This coverage only
applies to property owned by the “insured”
named on the Declarations Page and any
“family member,” and only while the property
is aboard an “insured boat,” being loaded or
unloaded from an “insured boat,” or stored in
a dock box immediately adjacent to an
“insured boat,” and including the dock box.

3. Limit Of Insurance

a. “Insured Value”

“We” agree with “you” that personal
effects shall be valued at “replacement
cost,” which means the amount to replace

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damaged property with new property of like
kind and quality. In any one incident or
“accident,” “we” will not be liable for
personal effects beyond the amount shown
on the Declarations Page regardless of the
number of persons involved or claims made
in the “accident.”

b. Amount Paid To “You” In Event Of Loss
“We” will pay for replacement of the
property with like kind and quality, or the

amount shown on the Declarations Page,
whichever is lower, less the deductible.

. Exclusions

“We” do not provide PERSONAL EFFECTS
coverage for loss or damage caused directly or
indirectly by: wear and tear, gradual
deterioration, mechanical or electrical failure or
disturbance, corrosion, dampness, temperature
changes, “obsolescence,” vermin, animals, or
mysterious disappearance. This insurance
does not cover currency, jewelry, furs, china,
silver, valuable papers, documents,
consumables, antiques, collectibles, “personal
watercraft” or other boats.

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SECTION IV— COVERAGES CONTINUED

 

1. UNINSURED BOATER

1. Who Is An “Insured”

For purposes of “UNINSURED BOATER”
coverage only, “insured” is defined as:

a. “You”:
b. “Your” “family member(s)”; and

c. Any other person using an “insured boat”
with “your” direct and prior permission and
without compensation.

. Coverage Provided

If an amount is shown for this coverage on the
Declarations Page, “we” will pay the damages
which, because of “bodily injury” an
“insured” received aboard an “insured
boat,” an “insured” is legally entitled to
recover from an “uninsured boater” as the
result of a collision by an “uninsured boat”
with an “insured boat.”

. Arbitration

lf “we” and an “insured” do not agree
whether that person is legally entitled to
recover damages under this coverage, or as to
the amount of damages, either party may make
written demand for arbitration. If so demanded,
arbitration will be mandatory, and claims or
disputes under this coverage over whether the
“insured” is legally entitled to recover
damages or as to the amount of these
damages will be resolved exclusively by
arbitration. Each party will select and pay for a
competent arbitrator within 30 days. The
arbitrators will select a third arbitrator within 30
days to settle any differences. If they cannot
agree on the selection of a third arbitrator
within 30 days, either may request that
selection be made by a judge of a court having
jurisdiction. Arbitration will take place within 30
days of the naming of the third arbitrator in the
county where the “insured” lives, unless both
parties agree otherwise. Local rules of law
regarding procedure and evidence will apply. A
written agreement by two of the arbitrators will
be binding as to whether the “insured” is
legally entitled to recover damages under this
coverage and the amount of these damages.

Each party will pay their own chosen arbitrator
and will share the expenses of the third
arbitrator equally. The arbitration must be
completed within 90 days of the first notice or
demand for arbitration unless extended by
agreement of all the parties.

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4. Exclusions

“We” do not provide “UNINSURED BOATER”
coverage:

a. For claims settled without “our” written
consent;

b. if the “uninsured boat” is owned or
operated by a governmental agency or
employee;

c. For boats owned by or furnished for regular
use by an “insured,” any = “family
member,” or any person insured by this
policy;

d. For anyone using an “insured boat”
without permission;

e. When an “insured boat” named in this
policy is being chartered; or

f. Where no evidence of physical contact
exists between an “insured boat” and an
unidentified boat, or where no evidence of
physical contact exists between an
“insured boat” and an “uninsured boat.”

This coverage will not apply directly or
indirectly to the benefit of any insurer under
any state or federal compensation law or act.

. Limit Of Insurance

The amount shown for this coverage on the
Declarations Page is the most “we” will pay
under this coverage, regardless of the number
of “insureds,” claims made, or boats involved
in any one “accident,” or series of
“accidents” arising out of the same event.

Payment Reductions

Payment under this coverage shall be reduced

by:

a. All sums paid by or on behalf of those
legally responsible;

b. All sums paid by any state or federal
compensation law or act; or,

c. All sums paid under the BOATING
LIABILITY or MEDICAL PAYMENTS
coverages of this policy.

Payment under this coverage to or for an
“insured” will reduce the amount that person
is entitled to recover from the BOATING
LIABILITY or MEDICAL PAYMENTS
coverages of this policy.

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SECTION V — GENERAL CONDITIONS

A. Payment Of Loss

After “we” receive all statements and supporting
papers, “we” will promptly process “your” claim.
Upon agreement with “you” of the amount to be
paid, “we” may ask “you” to complete a
notarized Proof of Loss.

After submission of the Proof of Loss, payment will
be issued to “you” and any lienholder and/or
repair yard. “Your” cooperation is needed to
expedite settlement and payment. If “you” do not
provide all requested papers within a year of the
loss, the claim may be voidable.

. “Our” Right To Recover

An “insured” may have the right to recover from
another parly who is responsible for an
“insured’s” loss or loss to an “insured boat.” If
“we” pay an “insured’s” loss under this policy,
this right of recovery will belong to “us” up to the
amount that “we” have paid an “insured.” If an
“insured” takes any action that impairs “our”
right to recover, “we” can consider this policy
without effect as to such loss. However, signing a

written contract for dockage, slip rental, moorage,
hauling/launching, storage, repair or maintenance
of an “insured boat” which includes a waiver of
subrogation provision shall not void this policy.

. Cancellation

1. “You” may cancel this policy at any time by
providing “us” with advance notification of the
cancellation date.

2. Subject to the requirements of state law, “we”
may cancel this policy by notifying “you” in
writing before the date the cancellation is to
take place. This cancellation notice will be
mailed to “you” at the address shown on the
Declarations Page, and proof of such mailing
shall be sufficient proof of notification.
Cancellation may be effective prior to the
return of premium, if any. The return premium
will be calculated on a pro-rata basis.

. Hurricane Preparation

lf a Tropical Storm or Hurricane Watch or Warning
is issued for the location of an “insured boat” by
the National Oceanic & Atmospheric
Administration (NOAA), “we” will pay 50% of the
cost up to a maximum of $1,000 for having the
“insured boat” moved by a professional, or for a
professional haulout, or for the professional
execution of a hurricane plan. In addition to
professional moving or a professional haulout,
covered expenses include, but are not limited to,
haulout, blocking, lashing to in ground anchors,
powerwashing and relaunch.

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E. Where Covered

Coverage is provided:

1. While an “insured boat” is afloat or ashore
within the Cruising Limits shown on the
Declarations Page; and

2. While an “insured boat” or its equipment is
being transported by land conveyance in the
United States or Canada.

. Private Pleasure Limitation

There is no coverage during any period of
chartering, leasing, commercial use or exhibition,
or any other non-private pleasure use unless
“you” have prior written permission from “us.”
There is no coverage if an “insured boat” is used
for illegal activities.

. Other Insurance

1. If there is any other available insurance that
would apply in the absence of this policy, this
insurance shall apply as excess over all other
insurance.

2. When this policy and any other policy covers
on the same basis, either excess or primary,
“we” will pay only “our” share. “Our” share is
the proportion that the Limit of Insurance of
“our” policy bears to the total of the limits of all
the policies covering on the same basis.

3. With regards to HULL AND EQUIPMENT,
BOAT TRAILER, and PERSONAL EFFECTS
coverages, the combined amount of all
available insurance shall not exceed the limits
of this policy for any loss.

. Transfer Of Interest

Coverage provided by “us” will terminate
automatically if “you” sell or have contracted to
sell an “insured boat” with consideration, or if
“you” have assigned an “insured boat” or
“insured trailer,” or any interest in the policy,
without “our” prior written consent; or, if an
“insured boat” is legally removed from “your”
custody for any reason.

. No Benefit To Bailee

No person or organization having custody of the
property insured and being compensated for
services shall benefit from this insurance.

. Fraud And Concealment

There is no coverage from the beginning of this
policy if any “insured” or any “insured’s” agent
has omitted, concealed, misrepresented, sworn
falsely, or attempted fraud in reference to any
matter relating to this insurance before or after any
loss.

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SECTION V-— GENERAL CONDITIONS CONTINUED

K. Legal Action Against “Us”

No legal action may be brought against “us”
unless there has been full compliance with all
terms of this policy. With respect to any claim or
loss to insured property, the action must begin
within two years of the date of loss or damage.
With respect to any other claim or loss, no legal
action may be brought against “us” until “we”
agree in writing that an “insured” has an
obligation to pay a specified amount, or until the
amount of that obligation has been finally
determined by judgment after trial. No one has a
right under this policy to bring “us” into any action
to determine the liability of an “insured.” If any
time limitations of this policy are prohibited or
invalid under applicable law, then legal action
against “us” must begin within the shortest
limitation of time permitted by such law.

Except as otherwise provided within this policy,
any dispute arising under, or in connection with
this policy or related to any matter which is subject
to this policy, shall be subject to the exclusive
jurisdiction of the federal and state courts located
within the United States District Court for the
Eastern District of Virginia and the United States
District Court of the District of Maryland.

L. Non-waiver Clause

No action taken on “our” part following an
“accident” or loss to salvage, recover or prevent
an “insured boat” from further damage, nor any
action which may be taken by “us” in connection
with the investigation of any “accident” or loss
shall be considered as a waiver of “our” rights
under this policy.

. Controlling Law

This policy is to be construed under United States
federal admiralty law. In the absence of controlling
United States federal admiralty law, this policy is
to be construed under the laws of the state,
territory or possession listed on the Declarations
Page as “your” address of record, without regard
to that jurisdiction’s rules on choice of law.

. Economic And Trade Sanctions

Whenever coverage provided by this policy would
be in violation of any U.S. economic trade
sanctions such as, but not limited to, those
sanctions administered and enforced by the U.S.
Treasury Department's Office of Foreign Assets
Control ("OFAC"), such coverage shall be null and
void. Similarly, any coverage relating to or referred
to in any certificates or other evidences of
insurance or any claim that would be in violation of
U.S. economic or trade sanctions as described
above shall also be null and void.

SECTION VI —- GENERAL EXCLUSIONS

. Racing Exclusion

“We” will not provide any coverage for
powerboats while engaged in any speed race or
test. “We” do cover predicted log cruises or
similar competitions and sailboat racing.

GEICO Marine Insurance Company
- as

Secretary

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B. War, Seizure, Nuclear Exclusion

“We” will not pay for any loss or damage resulting
from:

1. Radioactive contamination or nuclear reaction;

2. War (declared or undeclared), civil war,
insurrection, rebellion, revolution, riot, social
unrest, piracy, or any consequence of these; or

3. Capture, seizure, arrest or detainment of an
“insured boat” by any governmental power or
authority, whether lawful or unlawful.

GEICO Marine Insurance Company

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President

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

BAHAMAS COVERAGE

Permission is granted for navigation of an “insured boat” in the waters of the Bahamas and the Turks
and Caicos, not south of 20.5 degrees North Latitude and not east of 70.5 degrees West Longitude.

All other terms, conditions, and agreements of the policy remain unchanged.

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 

 

 

 

 

 

 

PREMIER ENHANCEMENT
SCHEDULE

COVERAGES AMOUNT OF INSURANCEILIMITS

Commercial Towing and Assistance Each Incident $250
Medical Payments Limit Per Person Each "Accident" $10,000
Personal Effects Insured value, not to exceed $5,000
|DEDUCTIBLES

Dinghy Deductible $100

Electronics Deductible $250

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

 

 

 

“You” agree to pay additional premium for this coverage.
The policy is amended as follows:
B. COMMERCIAL TOWING AND ASSISTANCE

Increased to the Amount of Insurance/Limits shown in the Schedule of this endorsement or the amount
shown on the Declarations Page, whichever is greater.

F. MEDICAL PAYMENTS

Increased to the Amount of Insurance/Limits shown in the Schedule of this endorsement or the amount
shown on the Declarations Page, whichever is greater.

H. PERSONAL EFFECTS

Increased to the Amount of Insurance/Limits shown in the Schedule of this endorsement or the amount
shown on the Declarations Page, whichever is greater.

COVERAGE FOR ICE AND FREEZING

In consideration that an “insured boat,” its engine(s) and systems will be winterized in accordance with
the manufacturer's specifications and when an “insured boat” is laid up afloat a de-icing or bubbler
system will be used, under SECTION IV - COVERAGES, A. HULL AND EQUIPMENT, 5. Exclusions,
“p. any loss caused by or resulting from ice or freezing;” is removed in its entirety.

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Under SECTION Ill - IN THE EVENT OF A LOSS, 6. Deductible, the following are added:

“Dinghy” Deductible

In the event of loss or damage solely to the “dinghy,” as defined by the policy and any endorsements,
the deductible applied to each loss is reduced to the “dinghy” deductible shown in the Schedule of this
endorsement, or the HULL AND EQUIPMENT deductible, whichever is less.

Electronics Deductible

In the event of loss or damage solely to an “insured boat’s” Navigational electronics, the deductible
applied to each loss is reduced to the Electronics Deductible shown in the Schedule of this
endorsement, or the HULL AND EQUIPMENT deductible, whichever is less.

All other terms, conditions, and agreements of the policy remain unchanged.

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

BoatU.S. YACHT POLICY ENDORSEMENT

Under SECTION IV — COVERAGES, A. HULL AND EQUIPMENT, 4. Limit of Insurance, c. Amount
Paid To “You” In Event Of Loss, (1) Total or Constructive Total Loss is removed in its entirety and
replaced with:

(1) Total or Constructive Total Loss

“We” will pay “you” the “insured value” as defined by this policy if an “insured boat” is lost
absolutely, or if the reasonable cost of repair exceeds the “insured value”. “We” reserve the
right to declare an “insured boat” a constructive total loss and pay “you” the “insured value” if
in our judgment costs of the repair and the post-casualty value of an “insured boat” exceeds the
“insured value.” “We” are not obligated to accept or pay for an “insured boat” or any “boating
equipment” which “you” “abandon.” If “we” pay “you” the “insured value,” “we” have the
right to an “insured boat”. If “we” exercise “our” right to acquire an “insured” boat,” “you”
must provide all documents needed to transfer title to “us.” “You” agree to allow “us” to
withhold an amount not to exceed 10% of the “insured value” until “we” have received these
documents.

However, if an “insured boat” is declared a total or constructive total loss, or if the reasonable
cost of repair exceeds the “insured value” then if “you” choose “we” will pay to replace an
“insured boat” with the same model, or if such model is not available, then to the extent
possible, the same make, class, size and type including comparable equipment to an “insured
boat”.

In either case, such replacement will be new.
Requirements for New Boat Replacement are as follows:

a. An “insured boat” was purchased new, with no prior owner or users, and no more than 12
months since the manufacture date;

b. The total or constructive fotal loss occurred within the first 48 consecutive months
immediately after purchase;

c. An “insured boat” was not purchased subject to any promotional use agreement or
sponsorship with the dealer or manufacturer.

The most “we” will pay for the New Boat Replacement, if it exceeds the “insured value” as
shown on the Declarations Page, will be the lesser of 120% of the “insured value” or $300,000.

if “you” do not choose this replacement boat coverage that is subject to the above eligibility
requirements, then “we” will pay “you” the “insured value” as defined by this policy.

Under SECTION IV —- COVERAGES, A. HULL AND EQUIPMENT, 4. LIMIT OF INSURANCE, c.
Amount Paid To “You” In Event Of Loss, the following is added:

Repair Guarantee

In the event of repairs for any covered loss or damage, if “you” have such work performed at a
facility recommended by “us” and in accordance with the method of repair approved by “us,”
“you” will be covered for any additional repairs due to faulty workmanship related to the
previously approved repairs for as long as “you” own an “insured boat” and continuously insure
it with “us” without any lapse in coverage. No deductible will apply to these additional repair
costs. The maximum that “we” will pay for all repairs arising out of the faulty repair is the
“insured value” shown on the Declarations Page. “We” reserve the right to select the facility to
perform any additional repairs.

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Under SECTION IV — COVERAGES, C. BOATING LIABILITY (PROTECTION AND INDEMNITY), 3.
Exclusions, c. is removed in its entirety and replaced with:

c. Liability which has been assumed by an “insured” under a contract or agreement, or an
breach of contract with the following provision:

“We” will cover “you” for “your” legal liability for “bodily injury” or “property damage”
assumed under a legally enforceable written boat storage or slip rental contract for an
“insured boat” subject to the limitations outlined in C. BOATING LIABILITY, 4. Limit Of
Insurance, provided the “bodily injury” or “property damage” occurs subsequent to the
execution of the boat storage or slip rental agreement. Solely for the purposes of liability
assumed in a boat storage or slip rental agreement, reasonable attorney fees and necessary
litigation expenses incurred by or for a party other than an “insured” are deemed to be
damages because of “bodily injury” or “property damage,” provided:
(1) Liability to such party for, or for the cost of, that party's defense has also been assumed
in the same boat storage or slip rental agreement; and

(2) Such attorney fees and litigation expenses are for defense of that party against a civil or
alternative dispute resolution proceeding in which damages to which this insurance
applies are alleged.

Under SECTION IV — COVERAGES, F. MEDICAL PAYMENTS, the following is added:

Supplemental Family Member Medical Coverage Limit Of Insurance

In addition to the amount shown for MEDICAL PAYMENTS on the Declarations Page, an
additional $25,000 per person shall apply for any covered MEDICAL PAYMENTS claim made by
any “family member.”

Under SECTION IV — COVERAGES, the following is added:

INVESTIGATIVE SERVICES FOR BOAT AND MACHINERY

1.

Who Is An “Insured”

For purposes of Investigative Services for Boat and Machinery coverage only, “you” are the
“insured.”

Coverage Provided

In the event an “insured boat” suffers direct physical damage believed to be the result of a
defect caused by manufacture or construction, “we” will provide investigative services outlining
the probable cause of the loss, the recommended method of repair and the reasonable cost of
those repairs. This coverage is supplemental to HULL AND EQUIPMENT and applies only if an
amount is shown for, HULL AND EQUIPMENT on the Declarations Page.

Type of Services

Investigative services may include inspection of the damage by a marine surveyor or other
professional with a written report of findings and/or laboratory analysis. The Company retains the
right to select and assign the appropriate professional for such services.

Coverage Limit

The limit of Investigative Services (value of services provided) is 5% of the “insured value” of an
“insured boat,” as stated on the policy Declarations Page under HULL AND EQUIPMENT.
“Our” obligation to investigate ends when this Investigative Services limit is exhausted or when
the investigation reveals a cause of damage other than manufacturer's defect. This 5% limit is the

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

most “we” will pay for investigation of believed defects involving an “insured boat” regardless of
the number of requests or any series of requests involving an “insured boat”. Defects and

warranty problems must be discovered and reported to “us” within the policy period stated on the
Declarations Page.

Deductible

There is no deductible applied to this Investigative Services coverage.
Exclusions

Investigative Services does not apply to:

a. Boats and/or machinery over 10 years of age;

b. Personal effects and boating equipment including electronics;

c. Further investigation upon determination that the loss or damage was caused directly or
indirectly by any excluded loss under coverage HULL AND EQUIPMENT above; or

d. A failure to exercise due diligence in care and maintenance of an “insured boat” in
accordance with the manufacturer's specifications.

LIMITED “PET” COVERAGE PROVIDED

1. Whols An “Insured”
For the purposes of “Pet” Medical coverage only, “insured” is defined as:
a. “you”;
b. A “family member(s)”

2. Coverage Provided
We will pay the necessary and reasonable veterinary expenses because of an injury to a
domestic dog or cat owned by an “insured” due to an “insured boat” being involved in a
covered loss (including, but not limited to, fire, explosion, sinking, demasting, collision or
stranding) under HULL AND EQUIPMENT. These expenses must be incurred within one year
from the date of the “accident.” If there are any other available insurance or pre-paid benefits
that cover such veterinary expenses to the injured domestic dog or cat, this coverage will be
excess over such other insurance.

3. Exclusions
We do not provide Limited “Pet” Medical Payments coverage for:
a. responsibilityassumed by an insured under any contract or agreement;
b. a “pet” that is injured while the boat is being transported on land;
c. a “pet” that is not owned by “you” or “your” “family member,” or who isa stray;
d. a pre-existing injury to the “pet.”

4. Limit of Insurance
The limit of liability for “Pet” Medical Coverage is $1,000 per “pet,” for each domestic dog or cat
injured in the same event regardless of the number of pets involved or claims made.

All other terms, conditions, and agreements of the policy remain unchanged.
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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
BoatU.S. COMMERCIAL TOWING AND ASSISTANCE

Under SECTION IV — COVERAGES, B. COMMERCIAL TOWING AND ASSISTANCE, the following is
added:

If there is an amount shown on the Declarations Page for COMMERCIAL TOWING AND
ASSISTANCE, “we” will pay for the expenses incurred for commercial tawing and assistance of
an “insured boat” or “insured trailer” from a breakdown at sea or on the road, when the
commercial towing and assistance is dispatched or preauthorized by the BoatU.S. 24 hour
Dispatch Services. “We” will pay this expense directly to the provider or reimburse “you” at
“our” option. Covered expenses are limited to the following services provided by a commercial
vendor, on land or water:

a. Towing of an “insured boat” or “insured trailer” to the nearest safe location;

b. The cost of delivering gas, oil, tire(s) or repair part(s) and labor at site of disablement
when available, but excluding the cost of any gas, oil, tire(s) or repair part(s).

This coverage does not apply when an “insured boat” is docked, moored or located in a safe
harbor or the “insured trailer” (with or without an “insured boat”) is in a parking space. The
maximum amount of coverage for any one incident or series of incidents arising out of the same
breakdown is the amount shown on the Declarations Page for COMMERCIAL TOWING AND
ASSISTANCE. The most “we” will pay in any one policy year is two times the coverage limit
shown on the Declarations Page. No deductibles will apply to this coverage.

All other terms, conditions, and agreements of the policy remain unchanged.

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